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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                        )
                                                )
                v.                              )   Criminal No.: 19-10080-NMG
                                                )
 GAMAL ABDELAZIZ, et al.,                       )
                                                )
                       Defendants               )

                     GOVERNMENT’S PRETRIAL MEMORANDUM

       The government respectfully submits this memorandum in advance of the final pretrial

conference on August 18, 2021.

       1.      Duration of Trial. The government has worked assiduously to streamline the

presentation of the evidence in this case. As a result, and in light of the recent pleas of two

defendants, the government now estimates that its case-in-chief will last between two and three

weeks (assuming full trial days), including a reasonable allowance for cross-examination. This

estimate assumes that the defendants stipulate to the authenticity of certain records, which would

obviate the need to call multiple authentication witnesses. The government agrees with the defense

that “the need to call a parade of record-keeper witnesses[] will unnecessarily prolong the trial.”

Dkt. 2092. Unfortunately, the parties have not, to date, reached such an agreement. The

defendants have indicated that they will object to the authenticity of certain records unless the

government calls Rick Singer as a witness. 1 The government has advised the defendants that it is


       1
         Accordingly, because the government has not yet determined whether it will call Singer
as a witness, the government intends shortly to file a notice and motion with respect to the pre-
authentication of Title III intercepts, voicemail messages seized from Singer’s telephone, and
emails seized pursuant to Court-authorized search warrants from Singer’s account and those of
two of the defendants. Granting this motion would eliminate the need to call at least five separate
authentication witnesses, including several from out-of-state. The government has also requested
that the defendants stipulate to the authenticity of emails produced by defendant Palatella’s
company, and text messages produced by her neighbor. This stipulation would eliminate the need
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willing to stipulate to the authenticity of numerous documents, but has declined to stipulate to

certain “broad categories” the defendants have proposed, id., including “[d]ocuments obtained

from the internet,” “[d]ocuments produced by any third party in response to a defense subpoena,”

and, more generally, documents the defense has not produced or identified to the government.

       2.      Length of Openings. The government proposes time limits of 45 minutes for the

government’s opening and 30 minutes for each of the defendants.

       3.      Witness Order. The government proposes that the parties provide each other the

anticipated order of their witnesses no later than 6 pm two days in advance.

       4.      Summary Charts. The government proposes that the parties provide each other

drafts of any summary charts by at least 5 pm five days before they plan to use such chart.

       5.      Electronic Presentation of Evidence. The government intends to present its

evidence in electronic format using Trial Director. The government anticipates that Jennifer

Lewis, a paralegal with the U.S. Attorney’s Office, will operate Trial Director and will also be

available to assist defense counsel with the presentation of government exhibits.

       6.      Sequestration Order. The government requests that its case agents, summary

witnesses, and the IRS revenue agent be exempt from any sequestration order.

       7.      Jury Binders.      The government intends to prepare binders that it will seek to

provide the jury, which will include transcripts of any audio evidence that will be presented at trial.




to call two additional witnesses who would be required to travel from California. The parties have
discussed a stipulation concerning the authenticity of USC emails. If that stipulation does not
occur, the government will also seek to pre-authenticate those emails, in lieu of calling a keeper of
records from USC.


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       8.      Use of PowerPoint Presentation.       With the Court’s permission, the government

intends to use PowerPoint presentations during its opening statement and closing argument, which

will allow for a more efficient presentation of the evidence.

                                                     Respectfully submitted,

                                                     NATHANIEL R. MENDELL
                                                     Acting United States Attorney


                                                  By: /s/ Stephen E. Frank
                                                     JUSTIN D. O’CONNELL
                                                     KRISTEN A. KEARNEY
                                                     LESLIE A. WRIGHT
                                                     STEPHEN E. FRANK
                                                     IAN J. STEARNS
                                                     Assistant United States Attorneys

                                 CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF).

                                                     /s/ Stephen E. Frank
                                                     STEPHEN E. FRANK
                                                     Assistant United States Attorney




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